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Transmittal Number: 19421703

Notice of Service of Process Date Processed: 02/27/2019

  
 

Primary Contact: Rosalinda Leal
Sysco Corporation
1390 Enclave Pkwy
Houston, TX 77077-2099

 

Electronic copy provided to: Dawn Becker
Eve McFadden
Barrett Flynn
Walker Essary
Entity: Sysco Jackson, LLC
Entity ID Number 3341048
Entity Served: Sysco Jackson, LLC
Title of Action: Payton Fuller vs. Sysco Jackson, LLC
Document(s) Type: Citation/Petition
Nature of Action: Discrimination
Court/Agency: Quachita Parish District Court, LA
Case/Reference No: C-20190454
Jurisdiction Served: Louisiana
Date Served on CSC: 02/26/2019
Answer or Appearance Due: 15 Days
Originally Served On: csc
How Served: Personal Service
Sender Information: J. Michael Rhymes

318-388-4500

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s), It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

To avoid potential delay, please do not send your response to CSC
251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com

EXHIBIT

A

 

 

 
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CE
CITATION
VS STATE OF LOUISIANA
PARISH OF OUACHITA
SYSCO JACKSON LLC FOURTH JUDICIAL DISTRICT COURT
EAST BATON ROUGE PARISH

TO:

SYSCO JACKSON LLC

THROUGH REGISTERED AGENT CORPORATION SERVICE COMPANY

501 LOUISIANA AVENUE

BATON ROUGE, LA 70802
YOU HAVE BEEN SUED. .-

Attached to this Citation is a certified copy of the Petition. The petition tells you what
you are being sued for.

You must EITHER do what the petition asks, OR, within FIFTEEN (15) days after you
have received these documents, you must file an answer or other legal pleadings in the
Office of the Clerk of this Court at the Ouachita Parish Court House, 301 South Grand,
Monroe, Louisiana.

If you do not do what the petition asks, or if you do not file an answer or legal pleading
within FIFTEEN (15) days, a judgment may be entered against you without further
notice,

This Citation was issued by the Clerk of Court for Ouachita Parish, on this FEBRUARY
7, 2019,

OUACHITA PARISH CLERK OF COURT

Also attached are the following:

PETITION
CHLOE ELLINGTON

By:
Deputy Clerk

 

FILED BY: J, MICHAEL RHYMES #11212
ORIGINAL

SERVICE COPY

 

FILE COPY

CERTIFIED
TRUE COPY

07 pio.

PUTY CLERK.
4TH JUDICIAL DISTRICT COURT
OUACHITA PARISH, LA

 
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STATE OF LOUISIANA PARISH OF QUACHITA FOURTH JUDICIAL DISTRICT

 

PAYTON FULLER FILED: FEB 0 6 2019
V.No 49-0454 CHLOE ELLINGTON
SYSCO JACKSON, LLC

 

DY. CLERK OF COURT

 

PETITION

 

The petition of PAYTON FULLER, a major resident and domiciliary of Ouachita Parish,

Louisiana respectfully represents that:

Made defendant herein is:

Sysco Jackson, LLC, a foreign company authorized to and actually doing
business in Louisiana.

2.
This petition is brought pursuant to the Americans with Disabilities Act as Amended,

state law claims pursuant to LRS 23:331 and 631, and Title VII of the Civil Rights Act of 1963.

The state district court has concurrent jurisdiction over all federal claims.

3,
Petitioner was employed by the defendant as a truck driver in Monroe, Louisiana in 2018
with his employment ending on or about April 17, 2018. At all times petitioner fully performed

his duties without cause for dismissal.

 
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4,

Petitioner is a veteran of the United States military. During his service Petitioner was

injured and, as a result, is a disabled veteran subject to the rights and privileges of LRS 23:331.
5.

During his tenure with defendant, Petitioner found it necessary to seek medical attention
both for treatment and to maintain his right to veteran’s benefits. Plaintiff's supervisor was
amenable to Plaintiff taking off sick leave which he had earned to go to the appointments but a
supervisor in Jackson overruled him, firing Plaintiff after only missing two days. At all times
pertinent the defendant had awarded to Plaintiff paid sick leave but, because of his veteran’s
status and, alternatively, the belief that the Plaintiff had a disqualifying disability, refused to
allow him to utilize such leave time. Plaintiff was disabled but had no disability which interfered
with his ability to perform the essential job functions of his job with the reasonable
accommodation of being allowed to utilize his earned sick leave.

6.

In addition to the foregoing Petitioner earned vacation pay during his tenure and was not

paid for same upon being dismissed from his employment on April 17, 2018.
7.

On April 24, 2018, amicable demand was made upon the defendant to reinstate plaintiff,

pay his vacation pay and otherwise make him whole. A copy of this demand is attached as

Exhibit “A”. The Defendant refused the demands of Plaintiff.

 

 
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8,

On May 10, 2018, Petitioner filed a complaint of discrimination with the United States
Equal Employment Commission. The EEOC issued a right to sue letter on November 14, 2018
which was received by plaintiff on November 20, 2018.

9.

Petitioner prays for trial by jury.

WHEREFORE, petitioner prays that after due proceedings there be judgment herein in
his favor and against the defendant in a sum reasonable in the premises for all damages
occasioned to him including back pay for lost time, compensatory damages for emotional ©
distress, pain and suffering, a sum equal to leave time not paid at the end of his employment,

ninety day’s penalty wages, together with all costs and a reasonable attorney’s fee.

 

J. Michael Rhymes #11212
Attorney at Law

1005 North Third Street
Monroe, LA 71201

(318) 388-4500 - telephone

Please serve defendant through
its registered agent for service of )
process:

Corporation Service Company
501 Louisiana Ave.
Baton Rouge, LA 70802

 
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J. Michael Rhymes

Attorney at Law

_ 1005 North Third Street

Monroe, Louisiana 71201
Phone: 318.388.4500
Email: jmrkymes@email,com

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April 24, 2018

Denise Jones, VP
Sysco Jackson, LLC
P. O. Box 2900
Jackson, MS. 39207

Attn: Legal Department
- Dear Ms. Jones: }

We represent Mr. Peyton Fuller, a former employee of Sysco. According to your letter of
April 18, 2018, you allege, by communication transmitted through the United States Mail, that
Mr. Fuller has a disability which cannot be accommodated. He is unaware of any such disability
and his supervisor expressed dismay at his dismissal. As far as we know, there was never an
effort to engage in the interactive process to identify potential accommodations. Of course if one
is only perceived as having'a disability the interactive process is likely to fail but the process
might have proven fruitful even if Mr. Fuller did not expressly request an accommodation for a
non existent disability

Mr. Fuller is a veteran and successfully performed all of his duties for his entire tenure.
We do not know the nature jof the supposed disability so we cannot address your concerns about
such. We believe Mr. Fuller was dismissed from employment either because of his veteran’ s
status or because of a perceived disability.

In any event, demand is made upon Sysco to return Mr. Fuller to service, pay him for all
time lost, reimburse his attorney’s fees and otherwise make Mr, Fuller whole. In addition, Mr.
Fuller was not paid for vacation time and his regular earnings in his last paycheck and demand is
made for same if he is not reinstated immediately. (See LRS 23:631, et seq.)

 

Since we don’t understand your actions in dismissing Mr. Fuller, we will wait ten days
from the date of this letter for you to provide some rationale before we file appropriate
complaints or pleadings, if you do not take the action demanded above.

chael Rhymes

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~ STATE OF LOUISIANA o4 LE, D .
on FEB 06 29
PARISH OF OUACHITA | CHLOE ELE STON

 

DEPUTY C,
. 4TH JUDICIAL DISTRICS COURT
OUACHITA PA RISH, LA
VERIFICATION

Before me, the undersigned Notary Public in and for the said Parish and State, personally
came and appeared Payton Fuller who, after first being duly sworn, did depose and state that:
He is the petitioner in the above and foregoing Petition; that he has read same and that all

allegations contained therein are true and correct.

b,, Fi

Payton Fuller

Sworn to and subscribed before me on this b day of ral eg , 2019.

NOTARY PUBLIC
J. Michgel Rhymes #11212

CERTIFIED
TRUE COPY

   
 

 

 
